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                                             6904


                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §           Case No. 4:05cr96-014
                                                   §           (Judge Crone)
 SHAWN KHAJEH AMIDI                                §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 8, 2013 to determine whether Defendant violated his supervised

 release.

        On April 20, 2006, Defendant was sentenced by the Honorable Paul Brown to thirty (30)

 months’ custody followed by three (3) years of supervised release for the offense of Distribution of

 GHB and MCMA. On August 10, 2007, Defendant completed his period of imprisonment and began

 service of his supervised term.

        On June 3, 2013, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated a mandatory and a standard

 condition. Violation allegation two was dismissed by the Government. The petition also alleged

 violation of the following mandatory condition: the defendant shall not commit another federal, state,

 or local crime.

        The petition alleges that Defendant committed the following acts with regard to the

 remaining violation: Defendant was changed in 4:10cr61 with Conspiracy to Possess with Intent to

 Distribute or Distribution of Marijuana and Aiding and Abetting. On October 17, 2013, Defendant

 was sentenced by the Honorable Michael Schneider to time served.
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            Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     violation.

                                         RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be sentenced

.    to time served.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

          SIGNED this 2nd day of December, 2013.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES MAGISTRATE JUDGE
